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Document Number Case Number
United States District Court
Western District of Wisconsin

Theresa M. Owens

Filed /Received

 

UNITED STATES DISTRICT COURT ea

FOR THE

WESTERN DISTRICT OF WISCONSIN

 

TRENTON SCHEIBE,

Vv.

Plaintiff,

NATIONAL BOARD OF MEDICAL EXAMINERS,

Defendant.

Case No. 05-C-180-C

 

DEFENDANT’S PRETRIAL DISCLOSURES

 

Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, Defendant National

Board of Medical Examiners (NBME), by its attorneys, Melli, Walker, Pease & Ruhly, S.C.,

hereby makes the following pretrial disclosures.

L

Witnesses
A. Witnesses Expected To Testify At Trial:

Samuel O. Ortiz, Ph.D.

Associate Professor of Psychology
Dept. of Psychology

St. John’s University

8000 Utopia Parkway

Jamaica, NY 11439

(718) 990-5388

Steven G. Zecker, Ph.D.

Associate Professor and Director of Doctoral Studies
Department of Communication Sciences and Disorders
Program in Learning Disabilities

Northwestern University

The Frances Searle Building

2240 Campus Drive #2-331

Evanston, Illinois 60208-3560

(847) 491-2577
Il.

Til.

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B. Witnesses Who May Be Called. If Needed:

Joseph Abram Doane

Manager, Disability Services

ADA Compliance Officer, Testing Programs
National Board of Medical Examiners

3750 Market Street

Philadelphia, PA 19104-3102

(215) 590-9500

Gerard F. Dillon

Associate Vice President, United States Medical Licensing Examination

National Board of Medical Examiners

3750 Market Street

Philadelphia, PA 19104-3102

(215) 590-9500

There are no witnesses whose testimony is expected to be presented by means of a
deposition.

Documents

A. Documents Expected To Be Offered At Trial:

1. Psychological Assessment conducted on September 21, 2001 and October 5, 2001
and signed by David Lachar, Ph.D.

2. Questionnaire for USMLE Step 1 and 2 Applicants Requesting Test
Accommodations signed by Scheibe and dated January 6, 2003.

3. Certification of Prior Test Accommodations dated January 6, 2003.

4, January 14, 2003 letter from Disability Services to Scheibe verifying receipt of
Scheibe’s first request for test accommodations.

5. February 4, 2003 report and recommendation of Dr. Samuel Ortiz.
6. March 24, 2003 letter from Disability Services to Scheibe denying request for test
accommodations.

7. Neuropsychology Report dated August 25, 2004 and signed by Fred Theye, Ph.D.

8. Scheibie’s second request for test accommodations dated October 19, 2004.
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October 19, 2004 personal statement submitted by Scheibe to NBME in support of
Scheibe’s second request for test accommodations.

Academic transcripts and standardized test results submitted to NBME by Scheibe
in support of Scheibe’s second request for accommodations on Step 2 of the
USMLE.

October 27, 2004 letter from Disability Services to Scheibe verifying receipt of
Scheibe’s second request for test accommodations.

November 10, 2004 letter from NBME to Scheibe requesting follow-up information
from Dr. Theye.

Letter from Dr. Theye to Scheibe dated November 23, 2004, which Scheibe
forwarded to NBME.

December 7, 2004 letter from Disability Services to Schiebe requesting follow-up
information from Dr. Lachar.

E-mail from Dr. Lachar to Scheibe dated December 8, 2004.
December 16, 2004 letter from Dr. Lachar to NBME.
January 18, 2005 report and recommendation of Dr. Steven Zecker.

January 24, 2005 letter from NBME to Scheibe denying his second request for test
accommodations.

November 20, 2005 expert report of Dr. Zecker.
November 30, 2005 expert report of Dr. Ortiz.
March 2, 2006 report of Dr. Fred Theye.
Curriculum vitae of Dr. Zecker.

Curriculum vitae of Dr. Ortiz.

Curriculum vitae of Dr. Fred Theye.

USMLE Candidate Score Inquiry List, showing Scheibe’s registration periods and
test results for each of Scheibe’s attempts on the USMLE.
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Defendant reserves the right to supplement or amend this designation during the course
of trial preparation for good cause shown should it become necessary or advisable. Defendant
further reserves the right not to introduce any or all of the documents identified above, and to

introduce other documents for rebuttal purposes.

Dated this 3" day of April, 2006.

L. 24

Thomas R. Crone

State Bar No. 1017265

Michael P. Gallagher

State Bar No. 1047771

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